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Nonhem Dlsmct Of West Vlrglma oLARKsBuRG. Wv 26301

Crai g Ctmningham
Plaintiff, Pro-se

v. CIV]L ACTION NO. MDL 2493
Alliance Security, Monitronics, 2 Gig Technology
J asj it aka J ay Gotra, UTC Fi re and America’s Corporation,
Kathy McDonald aka Kathy Mardaresco, Secure l Systems, Mike Mavarro

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) Defendants.

Plaintiff’s Second Amended Complaint

l. The Plaintit`f in this case is Crai g Cunningham, a natural person and was resident
of Dallas County at all times relevant to the complaint, and currently has a

mailing address of 5543 Edmondson Pike, ste 248, Nashville, TN 372 ll

2. Upon information and belief, Alliance Security is an alarm system dealer
operating from 60 Jefferson Park Road in Warwick Rl, 02888 .

3. Jasjit Gotra is the CEO and main individual responsible for the marketing calls
made by or on behalf ofAlliance Security Inc. Mr. Gotra can be served at the
Salne address as Alliance Security.

4. Monitronics Intemational Ine., is an alarm monitoring service company that is
liable for calls placed on their behalf to market their alarm monitoring services
and is operating from PO box 8]4530, Dallas, Tx 75381-4530_ They can be
served via registered agent: The Corporation Trust Company, Corporati on Trust

Center 1209 Orange St., Wilmington, DE 1980]_

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5. UTC Fire and America’s corporation is an alarm manufacturing company that is a
Delaware corporation operating from 8100 SW Nyberg st # 350, Tualatin, Or
97062. They can be served via registered agent The Corporation Trust Company,
Corporation Trust Center 1209 Orange St., Wilmington, DE 19801

6, 2 Gig Technology, Inc. is the manufacturer for the alarm systems and is liable for
calls placed on their behalf and is operating from 2961 Maple Loop Dr, Lehi, UT
84043. They can be served at Corporation Service Company, 2711 Centervillc,
Rd., Ste 400 Wilmington, DE 19808_

7. Secure l Inc., DBA Secure 1 Systems is a California corporation and a dealer for
alarm systems that called the Plaintiif Soliciting the products of UTC and services
of Monitronics. They can be served via registered agent Christopher thomas 2440
N. Fremont #208, Monterey, CA 93940 and are operating from 17993 Cowan
lrvine, CA 92614.

8. l\/[ike Mavarro is the president cf Secure 1 Inc., and is personally responsible for
the calls placed on behalf of Secure l Inc., He can be served at 2440 N. Fremont #
208, Monterey, CA 93940 or 17993 Cowan Irvine Ca, 926|4

9. Kathy McDonald aka Kathy Mardaresco was the owner of Secure l Inc., and is
personally responsible for the calls placed on behalf of Secure l Inc., she can be

served at PO Box 2508, Newport Beach, CA 92656.

J n risd iction

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10. Jurisdiction of this court arises as the acts happened and the contract Was

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breached in this county
Venue in this Disttict is proper in that the defendants transact business here, and

the acts and transactions occurred here.

FACTUAL ALLEGATIONS

12. From 2012 and 2014, the Plaintiit` received multiple automated phone calls with a

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pre-recorded message to the Plaintitf’s cell phone and home phone which
informed the Plaintiff to that according to the FBI, home breakins are on the rise
and that he was being offered a free alarm system. The calls were later discovered
to be made by Alliance Seculity and Secure l Inc., and both were selling
Monitronics Alarm monitoring services as well as 2 Gig Alarm systems for
Alliance Security and GEIUTC Products for Secure 1, lnc.

The Plaintiff is not in need of a home alarm system. The Plaintitf did not solicit
anyone to call his cell phone for assistance in obtaining a home alarm system. The
Pl_aintiff is unsure how the Defendants obtained his cell phone number as he never
gave it to them and never gave express or implied consent for the defendants to
call his cell phone using an automated telephone dialing system

These phone calls violated the TCPA in two ways, first by having a pre-recorded
message that failed to have the mandated identification information such as the
name of the calling entity, maintaining a written do not call policy, training agents

on the do not call policy, identification of sellers and tel emarketers, which violate

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16.

47 USC 227(0)(5) under the FCC’s rule making authority in 47 CFR 64.1200(d)
which entitles the Plaintiff to $ 1500 per call and second by the automated nature
of them and by containing pre-recorded messages that were directed to the
Plaintiff’s cell phone, which violates 47 USC 227(b) and additionally entitles the
Plaintiff to an award of$1500 per call. ln total, each call entitles the Plaintiff to

recover $3,000 per call.

. Alliance Security has made so many offending phone calls, they were the target of

a recent enforcement action by the FTC where they were accused of making over
2 million illegal phone calls including calls to individuals on the do not call list.
The FTC levied a $3_4 million dollar fine against them as a result of their illegal
actions in 2014.l

Despite being painfully aware their actions were illegal, being relieved of

$3 00,000 cash from the FTC and multiple other state attorney ’s general, and in
direct violation of and with contempt of an agreed Federal court injunction against
future behavior, the company still continues to make illegal telephone calls and
and has not altered their behavior, literally to this very day_ Despite having filed a
lawsuit more than a year ago against Alliance Security, the Plaintiff still receives
calls from them and none of the other sellers, Monitronics, GE/UTC, or 2 Gi g

have done anything to punish or deter this behavior

. In making these calls, Alliance and Secure I lnc., were essentially marketing the

products manufactured by 2 gig technology and GE security as well as

monitoring services offered by Monitronics through their dealer relationship with

l See Stipulated final order for permanent injunction and civil penalty judgment dated 3110)’2014 in the US District
court of Massnchusctts, case I:I4-cv-10612

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both companies Agents would frequently use the brandftrade names of the
companies, direct consumers to the websites of 2 Gig and Monitronics when
asked who was calling and were essentially making the calls on behalf of these
product)'service providers The 6"‘ circuit as well as multiple other courts have
ruled that there is direct liability to include for corporate actors such as executives
like .lasjit Gotra and Kathy McDonald and vicarious liability for corporations that
ultimately benefit or sell servicesf products illegally marketed by 3rd parties The
parties are also jointly and severally liable for the phone calls as well.

Alliance security made millions of phone calls based on leads bought by lead
generation services and continues to make the illegal phone calls despite knowing
that the leads are questionable at best and the individuals being calls have not
given express or implied consent to be called with an automated telephone dialing
system or pre-recorded messages The Plaintiff was one of the consumers called
multiple times on multiple phone numbers over the years_ The Plaintiff has been
called at least 60 times by the defendants Alliance Security or agents thereof

2 gig technology was a knowing accessory to the actions of Defendant Alliance
and their entire frequently asked questions page is devoted to telemarketing
telephone calls, how they don’t sell directly to consumers, and responses to
consumers who have received calls about their products:
http:ffwww.2gig/conifcontactlfaqs

Similarly, the calls were placed with apparent authority, actual authority, and the
ratification of Monitronics, UTC, and 2 Gig. These companies knew of the illegal

conduct by Alliance security and their improper telemarketing, and still refused to

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exercise control or authority over Alliance Security to reduce or eliminate the
improper sales methodsl

Vicarious liability of the manufacturers and service providers
Similarl_y, the calls were placed with the apparent authority, actual authority, and
ratification of Monitronics, UTC, and 2 Gig. These companies knew of the illegal
conduct by Alliance security and their improper telemarketi ng and still refused to
exercise control or authority over Alliance Security to reduce or eliminate the
improper sales methods
The telemarketing calls were placed on behalf of and with full knowledge of
UTC, Monitronics, and 2 Gi g technology These companies permitted dealers to
use their trade names, trademarks, website, and gave access tc their databases and
pricing infonnation. There are fonnal, contractual agreements between the parties
for sales and distribution of their products and services through the alarm dealers
Secure l lnc., and Alliance Security.
Monitronics, 2 Gig, and GE were mentioned by name by the agents of Alliance
Security and Secure l lnc. Apparently the alarm dealers cooked up a scheme to
use fly by night “lead generators" that most likely used computer programs to
crawl the intemet and scrape phone numbers from websites, press releases,
Craigslist, and other sites to make a list of phone numbers to sell as targets for
pre-recorded and automated calls. These lists were then taken by Secure l Inc.,
and 2 Gig and used to pitch products!services offered by Monitronics, 2 Gig, and

GE,*'UTC.

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UTC and 2 GIG technology, (the product rnanufacturers) are liable for the calls
placed as the calls were placed on behalf of and for the benefit of the above
named parties Each of the named parties authorized the dealers to place calls
under their individual apparent and actual authority and each of the above named
entities ratified the conduct of Alliance and Secure l lnc., (the dealers). None of
the above named manufacturers sell directly to the public, but rather signed
contracts for distribution and authorized dcalers, of which Secure l lnc., and
Alliance Security are. The agreements between dealers and manufacturers and
Monitronics are dictated by the terms from Monitronics and the manufactures
All of the manufacturers and Monitronics have known for years that their
authorized dealers, especially Alliance Security and Secure l lnc., have been the
source of numerous complaints from consumers and government regulatory
agencies regarding illegal telemarketing efforts by the dealers

F or exainple, Alliance was hammered by the FTC with a multi-million dollar fine
for making over 2 million illegal calls, but the manufacturers and Monitronics still
continued to do business with them. Alliance has been the target of multiple class
action lawsuits as well as the defendant manufacturers and yet it is still business
as usual and no change in conduct has occurred by any of the defendants

ln fact, Monitronics celebrated and gave rewards for making illegal telemarkeitn g
calls including to sales award to Alliance in 2009, dealer of the year in 20 l 0, and
in 2011 a trip to the super bowl by Monitronics. This is clear ratification of the
conduct of Alliance in addition to accepting millions of dollars in business from

them.

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These facts support the company wide policy of each respective company for
wholesale disregard of the TCPA and ratification of lawbreakin g by Alliance by
providing financial incentives and awards for breaking the law.

SECURE 1 Inc TCPA Violatiorls
Secure l lnc. , followed a similar business model although on a smaller scale than
Alliance purchasing leads of dubious origin, inputting them into an automated
dialer system and then making phone call after phone call to consumers who
never opted in or agreed to be called in this manner
The Plaintiff received at least 3 phone calls from Secure l Inc pitching these
alarm services which was doing so at the behest of Kathy McDonald and Mike
Mavarro. These calls similarly contained a pre-recorded message and was
automated in violation of47 USC 227(b).
The defendants have gone to great lengths as well in attempts to disguise their
true identity in violation of 47 USC 227(0)(5) as codified by 47 CFR 64_ 1200 by
spoofing their phone numbers, using false names, and when caught, folding up
shop under the name Secure l Inc., and them changing to VIM Holdings lnc., but
still operating from the same address doing the same scheme to illegally obtain

money from consumers

. Each call contained a pre-recorded message about FBI statistics showing home

break-ins are on the rise and followed that with a pitch to buy their alarm systems
Apparently after receiving a torrent of complaints regarding Secure l Inc., the

company shut down under that name, created a new corporation, and continued to

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place calls to the Plaintiff under the dba name of First Guard Alarm or First Alert
through the corporation of V[M Holdings lnc., at the exact same address

The Plaintiff’s complaint is limited to the violations of the TCPA under Secure l
lnc.1 in this case and is pursuing VlM Holdings in a separate action. The main
thrust of this amended complaint is to add Kathy McDonald as a defendant in this

case for her actions with Secure l Inc.

CAUSES OF ACTION:
COUNT I
Violations of the Telephone Consumer Protection Act (TCPA)
Plaintiff Cunrringham incorporates by reference all of the above paragraphs of

this complaint as though fully stated herein

The foregoing actions by the Defendants constitute multiple breaches of the
TCPA by placing calls with pre-recordedfautomated messages to the Plaintiff"s
cell phone that lacked the name, address, and phone number of the entity placing
the phone calls These actions violate 47 USC 227(b_) and entitle the PlaintiH to

$1500 per call in damages as these were willful actions

CAUSES OF ACTION:
COUNT l]

Violations of the Telephone Consumer Protection Act (TCPA)

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37_ Plaintiff Cunningham incorporates by reference all of the above paragraphs of

this complaint as though fully stated herein

38. The foregoing actions by the Defendants constitute multiple breaches of the
TCPA by placing unsolicited and unwelcome telephone calls to the Plai ntiff" s cell
phone. These phone calls also violated the TCPA by having an pre-recorded

message These calls also violated 47 USC 227(0)(5_)

PRAYER F()R DAMAGES AND RELIEFS
A. WHEREFORE, Plaintiff, Cunningharn, respectfully prays and requests that
judgment be entered against each and every defendant for the following:
. Statutory damages of $3000 for each phone call_

B
C, Pre-j udgment interest from the date of the phone calls

D. Punitive damages for all claims in the amount of$1,000,000

E. Attorney’s fees for bringing this action; and

F. Costs of bringing this action; and

G For such other and further relief as the Court may deem just and proper

l, Crai g Cunningham, Affiant, hereby attest to and certify that the facts contained in the
foregoing complaint are true and correct to the best of my knowledge, information and
belief and that a true and correct copy of the foregoing was sent to the defendants in this
case.

Respect-fu'll`y,submitted/
'Q /
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C ig Cu ningha

Plaintiff, Pro-se

Mailing address:

5543 Edmondson Pike, ste 248
Nashville, Tn 37211
615-348-1977

May 7“' 2014

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United States District Multi-Distri ct Litigation
Northern District of West Virginia

) Craig Cunningham

) Plaintiff, Pro-se

)

) v.
CIV[L ACTION NO. MDL 2493

)

) Alliance Security, Monitronics, 2 Gig Technology

) Jasjit aka Jay Gotra, UTC Fire and America’s Corporation,

) Kathy McDonald aka Kathy Mardaresco, Secure l Systems, Mike Mavarro

) 1»10

) Defendants

Certifica te of Service

l. l hereby certify that a true copy of the foregoing was mailed to the defendants of

record in this case.

 

5543 Edmondson Pike, ste 248
Nashville, TN 37211
615-348-1977

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